     Case 3:15-cv-00656-L Document 7 Filed 05/18/15                Page 1 of 2 PageID 46


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

FROILAN CHAMORRO,                              §
                                               §
        Plaintiff,                             §      CIVIL ACTION NO.: 3:15-cv-00656-L
                                               §
V.                                             §
                                               §
STATE FARM LLOYDS,                             §
                                               §
        Defendant.                             §                   JURY DEMAND


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Froilan Chamorro and Defendant State Farm Lloyds hereby stipulate to the

voluntary dismissal with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Therefore, Plaintiff’s claims against Defendant State Farm Lloyds are hereby

dismissed with prejudice, with each party to bear its own costs.

        SO STIPULATED, this the 18th day of May 2015.


                                             Respectfully submitted,


                                             /s/ Jessica Taylor
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE – Page 1
2193781v2
10578.116
     Case 3:15-cv-00656-L Document 7 Filed 05/18/15            Page 2 of 2 PageID 47


                                            And


                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson
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                                            Adrienne B. Hamil
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                                            STATE FARM LLOYDS



                              CERTIFICATE OF SERVICE

        The undersigned certifies that on the 18th day of May 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and e-mail in
accordance with the Federal Rules of Civil Procedure:

        Via Electronic Filing and E-mail:
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                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson




JOINT STIPULATION OF DISMISSAL WITH PREJUDICE – Page 2
2193781v2
10578.116
